       Case: 1:17-cr-00239-SO Doc #: 45 Filed: 12/03/18 1 of 2. PageID #: 383



                             IN THE UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION

UNITED STATES OF AMERICA,                        )     CASE NO. 1:17 CR 239-01
                                                 )
                Plaintiff,                       )     JUDGE SOLOMON OLIVER, JR.
                                                 )
-vs-                                             )
                                                 )     MOTION TO CONTINUE
TYRONE GILBERT,                                  )     SENTENCING HEARING
                                                 )
                Defendant.                       )



       Now comes the Defendant, Tyrone Gilbert, through his attorney, Terry H. Gilbert, and

hereby moves this Court for a continuance of the sentencing hearing currently scheduled for

December 17, 2018 for the following reason:

       A major federal criminal justice reform bill, known as the Fresh Track Act, which has

bipartisan support and the backing of President Trump, will potentially be up for a vote before

the end of the year. The only impediment is whether the Senate majority leader will schedule the

vote. (See attached Exhibit 1, news article). In the bill, as currently drafted, an 851 enhancement

for a prior drug felony will be modified in two ways, redefining the prior drug felony to a

“serious drug felony” and reducing the mandatory minimum to 15 years, instead of 20 years.

(See Exhibit 2, relevant portion of the proposed legislation).

       It appears that these modifications, if passed into law, will not be retroactive to anyone

convicted before the effective date of the bill. Clearly, these potential legislative reforms will

benefit the Defendant in this case. The plea in this case was based on current law which imposes

a minimum mandatory sentence of 20 years. If the sentencing hearing goes forward on

December 17, 2018, and then subsequently the law is passed and signed by the President, Mr.

Gilbert will be out of luck.
       Case: 1:17-cr-00239-SO Doc #: 45 Filed: 12/03/18 2 of 2. PageID #: 384



        Undersigned counsel will be out of the country from December 24, 2018 until January

13, 2019, and then will be in trial the week of January 15, 2019. Counsel is available the week

of January 21, 2019, at the convenience of the Court and the Government.

                                                Respectfully submitted,

                                                FRIEDMAN & GILBERT



                                                /s/ Terry H. Gilbert
                                                TERRY H. GILBERT (0021948)
                                                JACQUELINE C. GREENE (0092733)
                                                55 Public Square, Suite 1055
                                                Cleveland, OH 44113-1901
                                                Telephone: (216) 241-1430
                                                Facsimile: (216) 621-0427
                                                Email: tgilbert@f-glaw.com
                                                        jgreene@f-glaw.com

                                                Attorneys for Defendant




                                  CERTIFICATE OF SERVICE

        I hereby certify that on December 3, 2018, a copy of the foregoing was filed

electronically. Notice of this filing will be sent to all registered parties by operation of the

Court’s electronic filing system. Parties may access this filing through the Court’s system.



                                                /s/ Terry H. Gilbert
                                                TERRY H. GILBERT
                                                One of the Attorneys for Defendant




                                                   2
